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11
                                  UNITED STATES DISTRICT COURT
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13                           NORTHERN DISTRICT OF CALIFORNIA

14                                   SAN FRANCISCO DIVISION

15    FEDERAL TRADE COMMISSION,                       Case No. 3:23-cv-01710-AMO
16                   Plaintiff,                       DEFENDANT INTERCONTINENTAL
                                                      EXCHANGE, INC.’S OPPOSITION TO
17    vs.                                             NONPARTIES SAGENT M&C, LLC’S
                                                      AND WARBURG PINCUS LLC’S
18    INTERCONTINENTAL EXCHANGE, INC.,                JOINT ADMINISTRATIVE MOTION
      and BLACK KNIGHT, INC.,                         TO SEAL
19
                     Defendants.                      REDACTED PUBLIC VERSION
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                                                               Case No. 3:23-cv-01710-AMO
       DEFENDANT INTERCONTINENTAL EXCHANGE, INC.’S OPPOSITION TO NONPARTIES SAGENT
         M&C, LLC’S AND WARBURG PINCUS LLC’s JOINT ADMINISTRATIVE MOTION TO SEAL
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 1   II.     LEGAL STANDARD

 2           Local Rule 79-5(c)(1) requires a movant seeking to seal court records to show: “(i) the

 3   legitimate private or public interests that warrant sealing; (ii) the injury that will result if sealing

 4   is denied; and (iii) why a less restrictive alternative to sealing is not sufficient.” The movant bears

 5   the burden of demonstrating “compelling reasons” to overcome the strong presumption in favor

 6   of access. Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003).

 7   “Embarrassment, incrimination,” or “exposure to further litigation” are not “compelling

 8   reasons.” Roley v. Google LLC, No. 18-cv-07537, 2020 WL 13517498, at *1 (N.D. Cal. Apr. 28,

 9   2020) (citation omitted). Rather, appropriate cases for sealing typically involve trade secrets,

10   competitively sensitive information, or other proprietary business information that would cause

11   the movant competitive harm. See, e.g., Welle v. Provident Life & Accident Ins. Co., No. 12-cv-

12   3016, 2013 WL 6055369, at *2 (N.D. Cal. Nov. 14, 2013). Conclusory assertions that a document

13   is confidential, without explanation of “how a competitor would use th[e] information to obtain

14   an unfair advantage,” do not suffice. Hodges v. Apple Inc., No. 13-cv-01128, 2013 WL 6070408,

15   at *2 (N.D. Cal. Nov. 18, 2013) (citation omitted).

16           Even if a party articulates compelling reasons to seal, the court “‘must then

17   conscientiously balance’ that interest against the public’s right of access.” Velasco v. Chrysler

18   Grp. LLC, No. 13-cv-08080, 2017 WL 445241, at *3 (C.D. Cal. Jan. 30, 2017) (quoting Ctr. for

19   Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016)). Where, as here, the

20   records relate to the inner workings of a government investigation and proceeding, rather than an

21   effort to protect sensitive business information, the public’s right of access is particularly strong.

22   See Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 597–98 (1978) (noting public interest “in

23   the citizen’s desire to keep a watchful eye on the workings of public agencies”).

24   III.    ARGUMENT

25           A.      No Legitimate Private Interest Warrants Sealing.

26           Sagent and Warburg argue that disclosure of each of the documents identified in Exhibit

27   A “would reveal Sagent’s highly-sensitive and confidential strategy for competing in the

28   mortgage technology space.” See, e.g., Lee Decl. at 5–6. Not so. The documents that Sagent and

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                            JOINT ADMINISTRATIVE MOTION TO SEAL
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 1                                            Proof of Service

 2          I, Kalpana Srinivasan, hereby certify that on July 17, 2023, I electronically filed the
 3   foregoing document with the Clerk of the Court for the United States District Court for the Northern
 4   District of California using the CM/ECF system and served a copy of same upon all counsel of
 5   record via the Court’s electronic filing system.
 6

 7   Dated: July 17, 2023                               By: /s/ Kalpana Srinivasan
                                                             Kalpana Srinivasan
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                                                             Intercontinental Exchange, Inc.
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